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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                     :
UNITED STATES,                                       :          CASE NO. 1:06-cr-338-1
                                                     :
                  Plaintiff,                         :
                                                     :
vs.                                                  :          OPINION & ORDER
                                                     :          [Resolving Doc. 593].
JORGE GONZALEZ,                                      :
                                                     :
                  Defendant.                         :
                                                     :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:


        On January 14, 2008, the Petitioner moved to vacate his sentence pursuant to 28 U.S.C.

§2255. The Petitioner alleged that his counsel was ineffective at sentencing for failing to obtain the

Petitioner a three-level reduction for acceptance of responsibility and for failing to provide the

Petitioner with the opportunity to outlay the facts regarding the quantity of marijuana at issue. The

Court referred the petition to Magistrate Limbert for a report and recommendation. On July 15,

2008, Magistrate Limbert issued a report recommending this Court deny the Petition. The record

at the sentencing that showed that the Petitioner did receive the three-level reduction and that he

admitted to the specific quantity of marijuana for which he was sentenced in the plea agreement and

during the plea hearing. The Petitioner has not filed an objection. The Court ADOPTS the

Magistrate’s report and recommendation.

        The Federal Magistrates Act requires a district court to conduct a de novo review only of

those portions of a Report and Recommendation to which the parties have made an objection. 28

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U.S.C. § 636(b)(1). Parties must file any objections to a Report and Recommendation within ten days

of service. Failure to object within that time waives a party’s right to appeal the magistrate judge’s

recommendation. FED . R. CIV . P. 72(a); see Thomas v. Arn, 474 U.S. 140, 145 (1985); United States

v. Walters, 638 F.2d 947 (6th Cir. 1981). Absent objection, a district court may adopt the

magistrate’s report without review. Thomas, 474 U.S. at 149. Moreover, having conducted its own

review of the parties’ briefs on the issue, this Court agrees with the conclusions of the Magistrate

Judge.

         Accordingly, the Court adopts in whole Magistrate Judge Limbert’s findings of fact and

conclusions of law and incorporates them fully herein by reference. The Court thus DENIES the

Petitioner’s §2255 petition. Moreover, the Court certifies, pursuant to 28 U.S.C. §1915(a)(3) that

an appeal from this decision could not be taken in good faith, and no basis exists upon which to issue

a certificate of appealability. 28 U.S.C. 2253(c); Fed. R. App. P. 22(b).

         IT IS SO ORDERED.



Dated: August 15, 2008                                 s/       James S. Gwin
                                                       JAMES S. GWIN
                                                       UNITED STATES DISTRICT JUDGE




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